                      Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 1 of 17


A0245B        (Rev. 09111) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT
                                                            District of Massachusetts
                                                                           )
              UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                      MICHAEL WILLIAMS                                     )
                                                                           )
                                                                                  Case Number: 10-CR-10440-DPW-018
                                                                           )      USM Number: 93637-038
                                                                           )
                                                                           )      Joseph F. Comenzo & Martin K. Leppo
                                                                                 --------- - - - - - - - -- --- - - - - - - - ----- - - - - - - - - - - . --   ­

                                                                                  Defendant's Attorney
THE DEFENDANT:
!it'pleaded guilty to count(s)         1, 2, 7, 8, 12, and 14 of the Indictment on 11/1/12
                                                                                            ----
o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                                     Offense Ended
                                                                                              ;.,.,.",.","                                  ·· .. ·f.



 21 U.S.C. §§     846.Consp!raCYi(~~~I~"                                                )itB~~e .. :c>:··                .121212010"                               1
 841(a)(1), & 841(b)(1)(A)



       The defendant is sentenced as provided in pages 2 through           __7 _ _. of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Countts) - - - - - - - - - - - - - Dis                          Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of malerial changes in economic circumstances.

                                                                           3/28/2013
                                                                                         c-:------".,--;----------­




                                                                           Douglas P. Woodlock                                           Judge,U.S. District Court
                                                                          Name and Title of Judge
                                                         Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 2 of 17

 AO 24SB                   (Rev. 09111) Judgment in a Criminal Case
                           Sheet IA
                                                                                                                                       Judgment-Page ~ of   7
 DEFENDANT: MICHAEL WILLIAMS
 CASE NUMBER: 10-CR-10440-DPW-018

                                                                     ADDITIONAL COUNTS OF CONVICTION
Title & Section                                               Nature of Offense                                              Offense Ended
". 21iu.sr~~~§!·§~~(ij)(~),.;iH~~~~                                                                'i~uli~'h"i'J'
                                                                                                   ,";"...,.",:,>;;,-" '
                                                                                                                         ::':j2J2I2ChO'
                                                               and Use of Controlled Substances

.21,.U.5                                                                                                                  '7/2/2010 .
                                                                                                              ".:- 'i_._~. __," .

 and 841(b)(1)(C)                                              Distribution of Cocaine

.2:t::lj.·
 18 U.S.C. § 922(9)                                            Felon in Possession of a Firearm                                     12/2/2010         12

 21.U;S'Q~;§§:'~·1{~···.'
             "'~   ";i::':'.:":~;;" ":-:'"',':' :::",,,-;,
                                                                                                  I ItA'·     ...•..•    ·12/2/2010                   14
 and 841(b)(1)(B)
                       Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 3 of 17

AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                 Judgment -   Page    3   7
DEFENDANT: MICHAEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-018


                                                        IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 180 months. This term consists of terms of 180 months on Counts 1,2,7, and 14, a term of 48 months on Count 8, and a
 term of 120 months on Count 12, all to be served concurrently.

 Defendant shall receive credit for time served.

    ~ The court makes the following recommendations to the Bureau of Prisons:

 Defendant should be designated to the institution, commensurate with security, which is closest to his relatives. Defendant
 should participate in a vocational training programs. Defendant should participate in all available substance abuse treatment
 programs.

     ~ The defendant is remanded to the custody of the United StatesMarshal.

    o The defendant shall surrenderto the United States Marshal for this district:
      o at _________ 0 a.m. o p.m, on
          o asnotified by the United States Marshal.
    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o before 2 p.m. on
      o as notified by the United StatesMarshal.
      o asnotified by the Probation or Pretrial Services Office.

                                                              RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                     to

a
    --------------- , with a certified copy of this judgment.

                                                                                              UNITED STATES MARSHAL



                                                                      I3y
                                                                                          DEPUTY UNITED STATES MARSHAL
                          Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 4 of 17


AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page       4   of         7
DEFENDANT: MICHAEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-018
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 5 years. This term consists of terms of 5 years on Counts 1, 7, and 14, terms of 3 years on Counts 2 and 12, and a term of 1
 year on Count 8, all such terms to run concurrently.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter,JG<Ii<:be1llOOx:ltilxlbxMJOJt. not to exceed 104 tests per year, as directed.
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.}

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
o        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a quali fying offense. (Check, ijapplicable.)

o        The defendant shall participate in an approved program for domestic violence. (Check, ijapplicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
    5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or £ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                   Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 5 of 17


AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                    Judgment-Page ~ of    7
DEFENDANT: MICHAEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-018

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 DEFENDANT IS TO PARTICIPATE IN A PROGRAM FOR SUBSTANCE ABUSE AS DIRECTED BY THE US
 PROBATION OFFICE, WHICH PROGRAM MAY INCLUDE TESTING, NOT TO EXCEED 104 DRUG TESTS PER YEAR,
 TO DETERMINE WHETHER THE DEFENDANT HAS REVERTED TO THE USE OF ALCOHOL OR DRUGS. THE
 DEFENDANT SHALL BE REQUIRED TO CONTRIBUTE TO THE COSTS OF SERVICES FOR SUCH TREATMENT
 BASED ON THE ABILITY TO PAY OR AVAILABILITY OF THIRD PARTY PAYMENT.
                      Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 6 of 17

AO 24SB   (Rev. 09111) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment -    Page      6   of         7
DEFENDANT: MICHAEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-018
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                                                              Restitution
TOTALS            $ 600.00                                       $                                      $


o The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AG 245C) will be entered
    after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all non federal victims must be paid
    before the United States is paid.

Name of Payee




TOTALS                              $                     0.00                                   0.00
                                                                         $--------­


o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     o the interest requirement is waived for the 0 fine 0 restitution.
     o the interest requirement for the 0 fine 0 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, II OA,and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                      Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 7 of 17
AD 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                                Judgment -          7_ of
                                                                                                                             Page _ _                    7
DEFENDANT: MICHAEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-018

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's abili ty to pay, payment of the total criminal monetary penalties is due as fo 1I0ws:

A     riI Lump sum payment of$ _6_0_0_._0_0                  _ due immediately, balance due

                 not later than                                      , or
                 in accordance           D C,         o D,      D      E,or     ri/ F below; or
B    D    Payment to begin immediately (may be combined with                  DC,         D D, or       D F below); or
c    0    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    riI Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay the special assessment of $600.00, immediately or according to a payment plan
           established by the Court in consultation with the probation officer, if not paid in full before release from prison
           through a Bureau of Prisons financial responsibility program.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




[J   Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

riI The defendant shall forfeit the defendant's interest in the following property to the United States:
      See attached Preliminary Order of Forfeiture.



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                       Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 8 of 17

AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Attachment (Page I) - Statement of Reasons


DEFENDANT: MICHAEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-018
DISTRICT:    District of Massachusetts
                                                            STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGA TION REPORT

      A []       The court adopts the presentence investigation report without change.

      B   rf     The court adopts the presentence investigation report with the following changes.
                 (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
                 (Usepage 4 if necessary.}

                 []    Chapter Two orthe V.S.S.G. Manual determinations by court (including changes to base offense level, or
                       specific offense characteristics):



          2      iid' Chapter Three of the V.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                       role in the offense, obstruction ofjustice, multiple counts, or acceptance of responsibility):

                        11135: An increase for Aggravating Role is not included. § 381.1(a).

          3      []    Chapter Four of the V.S.S.G. Manual determinations by court (including changes to criminal history category or
                       scores, career offender, or criminal livelihood determinations):



          4      []    Additional Comments or Findings (including comments or factual findings concerning certain information in the
                       presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                       or programming decisions):




      C []       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A []       No count of conviction carries a mandatory minimum sentence.


      B   if      Mandatory minimum sentence imposed.

      C []        One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                  sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                 does not apply based on

                  []   findings of fact in this case

                  []   substantial assistance (18 U.S.c. § 3553(e»

                  []   the statutory safety valve (18 U.S.c. § 3553(1)



III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level: _3~5~                                _
      Criminal History Category:
      ImprisonmentRange: _1,-,6~8~_ to 210              months
      Supervised Release Range:  5         to --e5"'---        years
      Fine Range: $ 20,000        to $ 16,500,000

      ri Fine waived or below the guideline range because of inability to pay.
                            Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 9 of 17

AO 245B       (Rev. 09111)Judgment in a Criminal Case
              Attachment (Page 2) - Statement of Reasons


DEFENDANT: MICHAEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-018
DISTRICT:    District of Massachusetts
                                                              STATEMENT OF REASONS

IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one)

      A 0               The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.

      B       il1'      The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                        (Use page 4 if necessary.)



      C 0               The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                        (Also complete Section V.)

      D 0               The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)
      A      The sentence imposed departs (Check only one.):
              o below the advisory guideline range
              o above the advisory guideline range

      B       Departure based on (Check all that apply.):
                             Plea Agreement (Checkall that applyand check reason(s) below.):
                             o    5K 1.1 plea agreement based on the defendant's substantial assistance
                             o    5K3.1 plea agreement based on Early Disposition or "Fast-track" Program
                             o    binding plea agreement for departure accepted by the court
                             o    plea agreement for departure, which the court finds to be reasonable
                             o    plea agreement that states that the government will not oppose a defense departure motion.

              2              Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                             o   5K 1.1 government motion based on the defendant's substantial assistance
                             o   5K3.1 government motion based on Early Disposition or "Fast-track" program
                             o   government motion for departure
                             o   defense motion for departure to which the government did not object
                             o   defense motion for departure to which the government objected
              3              Other
                             o   Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):

      C        Reason(s) for Departure (Check all that apply other than 5KJ.J or 5K3.J.)

0    4Al.3        Criminal History Inadequacy                0     5K2.I    Death                                   0     5K2.11     Lesser Harm
0    5H1.l        Age                                        D    5K2.2     Physical Injury                         0     5K2.I2 Coercion and Duress
0    5Hl.2        Education and Vocational Skills            D     5K2.3    Extreme Psychological Injury            0     5K2.13     Diminished Capacity
0    5Hl.3        Mental and Emotional Condition             D    5K2.4     Abduction or Unlawful Restraint         D     5K2.14     Public Welfare
0    5HI.4        Physical Condition                         0    5K2.5     Property Damage or Loss                 D     5K2.16     Voluntary Disclosure of Offense
0    5Hl.5        Employment Record                          D    5K2.6     Weapon or Dangerous Weapon              D     5K2.17     High-Capacity, Semiautomatic Weapon
0    5HI.6        Family Ties and Responsibilities           0     5K2.7    Disruption of Government Function       D     5K2.18     Violent Street Gang

0    5H1.lt       Military Record, Charitable Service,       D    5K2.8     Extreme Conduct                         0     5K2.20     Aberrant Behavior
                  Good Works                                 0     5K2.9    Criminal Purpose                        0     5K2.21     Dismissed and Uncharged Conduct
0    5K2.0        Aggravating or Mitigating Circumstances    D    5K2.10    Victim's Conduct                        D     5K2.22     Age or Health of Sex Offenders
                                                                                                                    0     5K2.23     Discharged Terms ofImprisonment
                                                                                                                    D     Other guideline basis (e.g., 2BI.I commentary)

      D        Explain the facts justifying the departure. (Use page 4 ifnecessary.)
                    Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 10 of 17

AO 245B    (Rev. 09111) Judgment in a Criminal Case
           Attachment (Page 3) - Statement of Reasons


DEFENDANT: MICHAEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-018
DISTRICT:    District of Massachusetts
                                                          STATEMENT OF REASONS

VI   COURT DETERMINA nON FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
           o below the advisory guideline range
           o above the advisory guideline range
     B     Sentence imposed pursuant to (Check all that apply.):

                       Plea Agreement (Check all that apply and check reason(s) below.):
                       o       binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                       o       plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                       o       plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guidel ine
                               system

           2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                       o       government motion for a sentence outside of the advisory guideline system
                       o       defense motion for a sentence outside of the advisory guideline system to which the government did not object
                       o       defense motion for a sentence outside of the advisory guideline system to which the government objected

           3           Other
                       o       Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below):

     C     Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

           o the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.c. § 3553(a)(1)
           o to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.C. § 3553(a)(2)(A))
           o to afford adequate deterrence to criminal conduct (18 U.S.c. § 3553(a)(2)(8))
           o to protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))
           o to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
               (18 U.S.c. § 3553(a)(2)(0))

           o to avoid unwarranted sentencing disparities among defendants (18 U.S.c. § 3553(a)(6))
           o to provide restitution to any victims of the offense (18 U.S.c. § 3553(a)(7))
     D     Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 if necessary.)
                     Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 11 of 17

AO 245B     (Rev. 09/11) Judgment in a Criminal Case
            Attachment (Page 4) - Statement of Reasons


DEFENDANT: MICHAEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-018
DISTRICT:    District of Massachusetts
                                                         STATEMENT OF REASONS

VII   COURT DETERMINATIONS OF RESTITUTION

      A    ~      Restitution Not Applicable,

      B    Total Amount of Restitution:

      C     Restitution not ordered (Check only one.}:

                  o For offenses for which restitution is otherwise mandatory under 18 V.S.c. § 3663A, restitution is not ordered because the number of
                       identifiable victims is so large as to make restitution impracticable under 18 US.c. § 3663A(c)(3)(A).

            2     o For offenses for which restitution is otherwise mandatory under 18 V.S.c. § 3663A, restitution is not ordered because determining complex
                       issues offact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                       that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 V.S.c. § 3663A(c)(3)(B).

            3     o For other offenses for which restitution is authorized under 18 V.S.c. § 3663 and/or required by the sentencing guidelines, restitution is not
                       ordered because the complication and prolongation ofthe sentencing process resulting from the fashioning of a restitution order outweigh
                       the need to provide restitution to any victims under 18 V.S.c. § 3663(a)( I)(B)(ii).

           4      o Restitution is not ordered for other reasons. (Explain.}


      D    0      Partial restitution is ordered for these reasons (/8 u.s.c. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (Ijapplicable.)




                    Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.




Defendant's Soc. Sec. No.:          XXX-XX-6202

Defendant's Date of Birth:           19_6_7_ _~"':'T:,L----f;~iiAh~W~

Defendant's Residence Address:                                                                        ignature of Judge
 Dorchester, MA                                                                                      Douglas P. Woodlock
                                                                                                    ~-~----_.          ----._~-       ~.-
                                                                                                                                             U.S.D.J.
Defendant's Mailing Address:                                                                        Name and Title o~ge
 Unknown.                                                                                           Date Signed     3 il /1.2/) /3
       Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 12 of 17




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                         )
                                                 )
                   v.                            )       Criminal No. 10-10440-DPW
                                                 )
18. MICHAEL WILLIAMS,                            )
    alk/a "Muscle Mike",                         )
                     Defendant.                  )

                          PRELIMINARY ORDER OF FORFEITURE
WOODLOCK, D.J.

        WHEREAS, on December 23, 2010, a federal grand jury sitting in the District of

Massachusetts returned a sixteen-count Indictment charging defendant Michael Williams (the

"Defendant"), and others, with Conspiracy to Distribute More than 500 Grams of Cocaine and

more than 280 Grams of Cocaine Base, in violation of21 U.S.C. § 846 (Count One), Managing

and Controlling a Building for Distribution and Use of Controlled Substances, in violation of21

U.S.C. § 856(a)(2) (Count Two), Possession of Cocaine with Intent to Distribute and Distribution

of Cocaine,in violation of21 U.S.c. § 841(a)(1) (Count Seven), Unlawful Use of a

Communications Facility, in violation of21 U.S.C. § 843(b) (Count Eight), Felon in Possessionof

a Firearm, in violation of 18 U.S.C. § 922(g) (Count Twelve), and Possession of More Than 500

Gramsof Cocaine with Intent to Distribute, in violation of21 U.S.C. § 841(a) (I) (Count

Fourteen); 1

        WHEREAS, the Indictment also contained a forfeiture allegation, pursuant to 21 U.S.c.

§ 853,which providednotice that the United States sought the forfeiture, upon convictionof the


1 The Defendant was not charged in counts three through six, nine through eleven, thirteen, and fifteen
through sixteen of the Indictment.
       Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 13 of 17




Defendant ofany offense alleged in Counts One, Nine, and Thirteen ofthe Indictment, ofany and all

property constituting, or derived from, any proceeds the Defendant obtained, directly or indirectly,

as a result ofthe offense; and/or any property used or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, such violation including but not limited to the following:

            a. the real property located at 132 Greenwood Street, Dorchester, Massachusetts,
               including all buildings, appurtenances and improvements thereon, as described in
               more detail in a deed recorded in Book 45746, Page 311 of the Suffolk County
               Registry of Deeds (" 132 Greenwood Property");

            b. the real property located at 136 Greenwood Street, Dorchester, Massachusetts,
               including all buildings, appurtenances and improvements thereon, as described in
               more detail in a deed recorded in Book 46144, Page 173 of the Suffolk County
               Registry of Deeds ("136 Greenwood Property"); and

            c. the real property located at 138 Greenwood Street, Dorchester, Massachusetts,
               including all buildings, appurtenances and improvements thereon, as described in
               more detail in a deed recorded in Book 45746, Page 313 of the Suffolk County
               Registry of Deeds ("138 Greenwood Property")?

        WHEREAS, on May 5, 2011, the United States filed a Bill of Particulars for Forfeiture of

Assets, providing notice of specific property that the government intended to forfeit pursuant to

21 U.S.C. § 853 as a result of violations of21 U.S.c. §§ 846, 843(b), 841(a)(l);

       WHEREAS, the Bill of Particulars identified for forfeiture any and all property constituting

or derived from, any proceeds the defendants obtained, directly or indirectly, as a result of such

offenses; and/or any property used or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such violation, including but not limited to the following:

       a.      one white 1999 Dodge Ram, bearing Vehicle Identification Number
               1B7KF23Z1XJ542354;


2 The Indictment also listed the real property described as 8 Peacevale Road, Dorchester, Massachusetts,
including all buildings, appurtenances and improvements thereon, as described in more detail in a deed
recorded in Book 24005, Page 077 of the Suffolk County Registry of Deeds. This property is owned by
another defendant in this case, and accordingly, not included in this motion.
                                                     2
       Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 14 of 17




        b.      one gray 2006 Lexus OS, bearing Vehicle Identification Number
                JTHBN96S965006297 and Massachusetts registration number M53000;

        c.      one black 2008 Dodge Ram, bearing Vehicle Identification Number
                ID7HU18218S567746 and Massachusetts registration number 3LS140;

        d.      one black 2008 Jeep Grand Cherokee, bearing Vehicle Identification Number
                118HR78388CI07137 and Massachusetts registration number 320E6l;

        e.      $70,000.00 in United States currency seized from Bank of America Safe Deposit
                Box #4072 on or about December 2, 2010;

        f.      $1,191.68 in United States currency seized from Sovereign Bank Account number
                ending in 0391 on or about December 2, 2010;

        g.      $1,990.00 in United States currency seized from Sovereign Bank Account number
                ending in 1423 on or about December 2, 2010;

        h.      $60,559.85 in United States currency seized from Sovereign Bank Account
                number ending in 7294 on or about December 2, 2010;

        1.      $1,330.00 in United States currency seized at 108 Sumner Street #2, Quincy, MA
                on or about December 2, 2010;

       J.       $103,134.00 in United States currency seized at 10 Coffey Street, Apartment #2,
                Dorchester, MA on or about December 2, 2010; and

        k.      assorted jewelry seized at 10 Coffey Street, Apartment #2, Dorchester, MA on or
                about December 2,2010 with an approximate value of $94,995.00

(collectively, the "Personal Properties").'

        WHEREAS, the Indictment further provided that, if any ofthe above-described forfeitable

property, as a result of any act or omission by the Defendant, (a) cannot be located upon the

exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third party; (c)

has been placed beyond the jurisdiction of the Court; (d) has been substantially diminished in



3 The Bill of Particulars identified other specific assets that are not associated with the Defendant and,
accordingly, are not included in this motion.
                                                      3
      Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 15 of 17




value; or (e) has been commingled with other property which cannot be divided without difficulty,

the United States is entitled to seek forfeiture of any other property of the Defendant, up to the

value of such assets, pursuant to 21 U.S.C. § 853(P).

       WHEREAS, on November 1,2012, at a hearing pursuant to Rule 11 ofthe Federal Rules of

Criminal Procedure, the Defendant pled guilty to Counts One, Two, Seven, Eight, Twelve and

Fourteen ofthe Indictment. The Defendant also signed a written plea agreement in which he

consented to the forfeiture ofthe following:

               a.      the 132 Greenwood Property;

               b.      $10,000 in lieu of the 136 Greenwood Property and the 138 Greenwood
                       Property; and

               c.      the Personal Properties

(collectively, the "Forfeitable Properties");

       WHEREAS, in light of the Defendant's guilty plea and admissions in the plea agreement,

the United States has established the requisite nexus between the Forfeitable Properties and the

offenses to which the Defendant pled guilty, and accordingly, the Forfeitable Properties are subject

to forfeiture to the United States pursuant to 21 U.S.C. § 853;

       WHEREAS, pursuant to 21 U.S.C. § 853 and Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure, the United States is now entitled to a Preliminary Order of Forfeiture against

the Forfeitable Properties.

      . ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

       1.      The Court finds, pursuant to Rule 32.2(b)(I) of the Federal Rules ofCrirninal

Procedure, that the government has established the requisite nexus between the Forfeitable

Properties and the offenses to which the Defendant pled guilty.
                                                 4
       Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 16 of 17




        2.      Accordingly, all of the Defendant's interests in the Forfeitable Properties are

hereby forfeited to the United States of America for disposition pursuant to 21 U.S.C. § 853.

        3.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the United

States is hereby authorized to seize the Forfeitable Properties and maintain them in its secure

custody and control.

        4.      Pursuant to 21 U.S.C. § 853(n)(1), as incorporated by 21 U.S.C. § 853, the United

States shall publish, for thirty (30) consecutive calendar days on the government forfeiture website

www.forfeiture.gov, notice of the Preliminary Order of Forfeiture and notice of the United States'

intent to dispose of the Forfeitable Properties.

        5.      Pursuant to 21 U.S.C. § 853(n)(1), as incorporated by 21 U.S.C. § 853, the United

States shall give, to the extent practicable, direct written notice to any person known to have

alleged an interest in the Forfeitable Properties.

       6.       Pursuant to 21 U.S.C. § 853(n)(2) and (3), as incorporated by 21 U.S.C. § 853, the

notice referred to above shall state: (a) that any person, other than the Defendant, asserting a legal

interest in the Forfeitable Properties, shall, within sixty (60) days after the first day of publication

on the government forfeiture website or within thirty (30) days after receipt of actual notice,

whichever is earlier, file a petition with the United States District Court in Boston, Massachusetts,

requesting a hearing to adjudicate the validity of his or her interest in the Forfeitable Properties;

and (b) that the petition shall be signed by the petitioner under the penalty of perjury and shall set

forth the nature and extent ofthe petitioner's right, title, or interest in the Forfeitable Properties, the

time and circumstances ofthe petitioner's acquisition ofthe right, title, or interest in the Forfeitable

Properties, any additional facts supporting the petitioner's claim, and the relief sought.

                                                     5
         Case 1:10-cr-10440-LTS Document 684 Filed 05/17/13 Page 17 of 17




         7.    Pursuant to 21 U.S.C. § 853(n)(7), as incorporated by 21 U.S.C. § 853, following

the Court's dispositionof all petitions filed under 21 U.S.C. § 853(n)(6), or if no such petitionsare

filed following the expiration of the period provided in 21 U.S.C. § 853(n)(2) for the filing of such

petitions, the United States of America shall have clear title to the Forfeitable Properties.

         8.    Upon adjudication of all third party interests, this Court will enter a Final Order of

Forfeiture, pursuantto 21 U.S.C. § 853 and Rule 32.2(c) of the Federal Rules of Criminal

Procedure, in which all interests will be addressed.

         9.    Pursuant to Rule 32.2(b)(4)of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture will becomefinal as to the Defendantat the time of his sentencing,

will be part of the Defendant's criminal sentence, and will be included in the criminaljudgment

entered by this Court against him.




                                                       DOU LASP.WOODLOCK
                                                       United States District Judge


Dated:    1fT'J..Z'. PIJ




                                                  6
